              IN THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION
               CIVIL CASE NO. 1:20-cv-00105-MR-WCM


A.W. MUNDAY,                               )
                                           )
                        Plaintiff,         )
                                           )     MEMORANDUM OF
                  vs.                      )     DECISION AND ORDER
                                           )
LEES-MCRAE COLLEGE, a North                )
Carolina Corporation,                      )
                                           )
                   Defendant.              )
______________________________             )

      THIS MATTER is before the Court on the Defendant’s Motion for

Summary Judgment. [Doc. 69].

I.    PROCEDURAL BACKGROUND

      The Plaintiff John Doe, later identified as Andrew Munday, brought this

action against Lees-McRae College (“LMC”), Lee King, Jon Driggers, and

Joshua Gaisser, asserting claims for violations of Section 504 of the

Rehabilitation Act of 1973 (“Rehabilitation Act”) and Title III of the Americans

with Disabilities Act of 1990 (the “ADA”), as well as state-law claims for

negligence, intentional and negligent infliction of emotional distress, and

fraud in the inducement/breach of contract. [Doc. 13].




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      The Defendants filed a Rule 12(b)(6) motion to dismiss, which the

Court granted in part and denied in part. Specifically, the Motion was granted

with respect to the Plaintiff’s state-law claims. The Motion was also granted

with respect to the Plaintiff’s claims against individual defendants King,

Driggers, and Gaisser. The Motion was denied with respect to the Plaintiff’s

claims against LMC under the ADA and Rehabilitation Act. With respect to

these federal claims, the Court held that the Plaintiff had stated claims

regarding a failure to accommodate related to a February 6, 2019 disciplinary

hearing, based on allegations that the Plaintiff had requested: “an

explanation of what was going on, expressed that he needed more time and

assistance in responding and, specifically, asked to have the Spanish

Instructor attend the hearing as a witness.” [Doc. 25 at 11, report and

recommendation adopted, Doc. 30]. This Court also determined that the

Plaintiff’s claims based on an exclusion theory could proceed, because the

Plaintiff had adequately alleged that disciplinary proceedings against him

were motivated by his requests for assistance with “emotional disabilities,”

and not misconduct. [Id. at 12].1 After the Court entered a Pretrial Order and

Case Management Plan [Doc. 63], the parties conducted discovery through


1 The Plaintiff was subsequently allowed to amend his complaint to assert additional
factual allegations and to correct misnumbered paragraphs. [Docs. 58, 60].
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March 7, 2022. Thereafter, LMC filed the present Motion for Summary

Judgment. [Doc. 69]. The Plaintiff filed a Response [Doc. 80], and LMC filed

a Reply [Doc. 81]. The Court held a hearing on the Defendant’s Motion on

July 15, 2022.

       Having been fully briefed and argued, this matter is now ripe for

disposition.

II.    STANDARD OF REVIEW

       Summary judgment shall be granted “if the movant shows that there is

no genuine dispute as to any material fact and the movant is entitled to

judgment as a matter of law.” Fed. R. Civ. P. 56(a). A factual dispute is

genuine “if the evidence is such that a reasonable jury could return a verdict

for the nonmoving party.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248

(1986). A fact is material only if it “might affect the outcome of the suit under

the governing law.” Id.

       The movant has the “initial responsibility of informing the district court

of the basis for its motion, and identifying those portions of the pleadings,

depositions, answers to interrogatories, and admissions on file, together with

the affidavits, if any, which it believes demonstrate the absence of a genuine

issue of material fact.” Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986)

(internal quotation marks omitted).
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      Once this initial burden is met, the burden shifts to the nonmoving

party. The nonmoving party “must set forth specific facts showing that there

is a genuine issue for trial.” Id. at 322 n.3. The nonmoving party may not

rely upon mere allegations or denials of allegations in his pleadings to defeat

a motion for summary judgment. Id. at 324. Rather, the nonmoving party

must oppose a proper summary judgment motion with citation to

“depositions, documents, electronically stored information, affidavits or

declarations, stipulations (including those made for purposes of the motion

only), admissions, interrogatory answers, or other materials” in the record.

Fed. R. Civ. P. 56(c)(1)(a); see also Celotex, 477 U.S. at 324. Courts “need

not accept as true unwarranted inferences, unreasonable conclusions, or

arguments.” E. Shore Mkt. Inc. v. J.D. Assocs. Ltd., 213 F.3d 175, 180 (4th

Cir. 2000) (citation omitted). The nonmoving party must present sufficient

evidence from which “a reasonable jury could return a verdict for the

nonmoving party.” Anderson, 477 U.S. at 248; accord Sylvia Dev. Corp. v.

Calvert Cnty., 48 F.3d 810, 818 (4th Cir. 1995).

      When ruling on a summary judgment motion, a court must view the

evidence and any inferences from the evidence in the light most favorable to

the nonmoving party. Anderson, 477 U.S. at 255.


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III.    FACTUAL BACKGROUND

        The forecast of evidence (which is almost entirely undisputed) taken in

the light most favorable to the Plaintiff is as follows. The Defendant Lees-

McRae College (“LMC”) is a private, four-year coeducational residential

college. [Doc. 69-4: Gaisser Decl. Ex. B: 2018-19 Student Handbook at 6].

According to the Academic Code of Honor and Student Code of Conduct as

published in the LMC Student Handbook, the hallmarks of LMC students are

“academic achievement, professional skills and concern for humanity.” [Id.].

All students are expected to act in a manner that does not infringe upon the

rights and responsibilities of others, including by refraining from disruptive

classroom behavior. [Id. at 7]. LMC “reserves the right to dismiss any

student who proves to be a detriment to the welfare of the College and

surrounding community.” [Id. at 9]. Students are expected to maintain a high

standard of conduct both on and off campus, and any student who behaves

in a disorderly, disruptive or dangerous manner may be subjected to

disciplinary action. [Id. at 14].

        When a violation of the student code of conduct is alleged, the

Assistant Dean informs the student of charges made against the student,

conducts an informal hearing, and determines the appropriate sanction. [Id.

at 9]. Complicated cases are heard by a panel. [Id.]. The Student Handbook
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contains a description of the process, the accused student’s rights,

violations, potential sanctions, and options for appeals.                 [Id. at 9-20].

Students receive a “Notice of Charge” that briefly summarizes the process

and directs the student to the Handbook for more information. [See Doc. 70-

2: Gaisser Decl. Exs. C at 1, E at 1, J at 6]. Among other information about

the procedure, the Handbook explains that students can bring witnesses.

[Doc. 69-4: Gaisser Decl. Ex. B at 11].

      The Plaintiff enrolled as a student at LMC as a freshman for the 2017-

2018 academic year.           Along with his application to LMC, the Plaintiff

submitted a Medical History Report. In the portion of the Report asking, “Do

you now have or have you ever had any of the following,” the Plaintiff

checked “yes” for “ADD/ADHD.”2 [Doc. 80-3: W. Munday Ex. 2].

      Under LMC’s policy,3 any student with a disability who desires an

accommodation is required to identify themselves, provide appropriate

documentation, and request reasonable accommodations through the



2 The term “ADD” refers to “attention deficit disorder,” while “ADHD” refers to “attention-
deficit/hyperactivity disorder.” ADD is an older term used for what is now known as the
inattentive type of ADHD. The term ADHD is now commonly used to describe both
inattentive and hyperactive types. See https://www.webmd.com/add-adhd/childhood-
adhd/add-vs-adhd (last accessed Nov. 22, 2022).
3This procedure is set forth in the Student Handbook, the Course Catalog, and on LMC’s
website. [Doc. 69-2: Beggs Dec. at ¶ 10].
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designated Office of Disability Services (now called the Office of Accessibility

Services).    [Doc. 69-2: Beggs Decl. at ¶¶ 5, 10].            All documentation

supporting the need for a disability-related accommodation must be from a

qualified professional, clearly state a diagnosis and the current functional

limitations of the condition, recommend accommodations, and state how the

limitation will affect the individual in an educational setting. [Id.]. All students

with questions about the process are directed to the Office of Disability

Services. [Id. at ¶ 6].

      The Plaintiff and his father, Warren “Buddy” Munday, were informed

and reminded, both verbally and via email, of the requirement to request

accommodations in writing on multiple occasions, by professors and

administrators. [See Doc. 69-6: McGuire Decl. at ¶ 6 and Doc. 70-3: McGuire

Decl. Ex. C; Doc. 70-1: Kokos Decl. Ex. A at 59, 64, 97, 115-16, 121]. The

Plaintiff’s advisor and LMC tutoring coordinator, Sue McGuire, informed the

Plaintiff on multiple occasions that, if he needed to seek any

accommodations or modifications for a learning disability, he would need to

meet with Karen Robertson at the Office of Disability Services at the Burton

Center for Student Success. [Doc. 69-6: McGuire Decl. at ¶ 6]. The Plaintiff

was also told by Amy Anderson (Dean of the Business School and Plaintiff’s

advisor for his business major), Pamela Keystone (BUS 101 professor), Ken
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Craig (ethics professor), and others that it is up to each student to self-

disclose any specific issues or needs to Robertson. [Id.; Doc. 69-2: Beggs

Decl. at ¶ 5; Doc. 70-1: Kokos Decl. Ex. A at 52, 59, 64, 97, 115-16, 121].

         The Plaintiff did not follow this procedure or the instructions of his

professors. [Doc. 69-2: Beggs Dec. at ¶ 8]. However, the Plaintiff and his

father talked to several faculty members about his diagnosis. [Doc. 69-7:

Munday Dep. at 22-24]. The Plaintiff’s father referenced his son’s ADHD “in

virtually all correspondence with faculty and staff.” [Doc. 80-3: W. Munday

Decl. at ¶ 2].

         On occasion, the Plaintiff’s father emailed the Plaintiff’s professors

individually to request changes to grades or opportunities for extra credit or

make-up work when the Plaintiff missed assignments or tests. In his emails,

the Plaintiff’s father requested that the Plaintiff’s professors not tell the

Plaintiff that his father was intervening on his behalf. [See, e.g., Doc. 70-1

Kokos Dec., Ex. A at 45-48, 131-40, 143-45, 162-66]. The Plaintiff’s father

concedes that, in terms of his learning needs, the Plaintiff “received all the

tutoring and academic support he needed.” [Doc. 80-3: W. Munday Decl. at

¶ 8].

         The Plaintiff recalled requesting an accommodation in the form of

“some extensions [of time] for work” from a professor, which he received.
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[Doc. 69-7: Munday Dep. at 24-25]. The Plaintiff also received academic

assistance from his guidance counselor, Dr. Laura Fero, who helped him

schedule his classes, communicating directly with his professors and LMC

administrators. [Doc. 80-2: Munday Decl. at ¶ 7]. Dr. Fero also referred the

Plaintiff to Ms. McGuire, who assisted him on assignments and referrals to

the Burton Center for Student Success. [Id.]. These referrals were not

disability-specific accommodations, however, as all students attending LMC

were eligible to use academic resources through the Burton Center and

through Counseling Services in the Student Affairs Office. [See Doc. 69-2:

Beggs Decl. at ¶ 3].

        Despite the Plaintiff’s failure to make any formal requests for

accommodation, Karen Robertson, the Coordinator of Disability Services,

reached out to the Plaintiff during the Spring 2018 semester and scheduled

a meeting to discuss his needs. The Plaintiff, however, failed to show up to

the meeting or submit any paperwork. [Doc. 70-1: Kokos Decl. Ex. A at 37-

40].

        In November 2017, during the Plaintiff’s first semester at LMC, the

Plaintiff visited a friend who resided in Tate Hall, a dormitory on the LMC

campus. The Plaintiff reached a closing door, opened it, and entered the

dorm. After entering, the Plaintiff was stopped by a resident assistant (RA),
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who questioned the Plaintiff’s presence in the building. The Plaintiff told the

RA to leave him alone and walked away. [Doc. 80-2: Munday Decl. at ¶ 12].

The RA reported this incident to Joshua Gaisser, the Assistant Dean in

charge of student conduct, claiming that the Plaintiff had overpowered the

card lock and forced open the entrance to the dormitory. The RA reported

that when the Plaintiff was told not to yank the door open or enter without a

card, the Plaintiff swore at him and walked away. [See Doc. 69-4: Gaisser

Decl. at ¶ 7]. Gaisser met with the Plaintiff on January 31, 2018, for a hearing

regarding this incident. Gaisser found the Plaintiff responsible for violating

the College’s policy on unauthorized access and gave him an official

disciplinary warning, which the Plaintiff signed. [Doc. 69-4: Gaisser Decl. at

¶ 8; Doc. 70-2: Gaisser Decl. Ex. C].

      During his first semester at LMC, the Plaintiff also began having issues

with members of the cafeteria staff. Like all dormitory students, the Plaintiff

had a mandatory meals contract, which he used only on a limited basis

because of his work schedule and frequent weekend departures.              The

Plaintiff took food as needed in the provided take-out boxes, as Jon Driggers,

the Dean of Students, had advised him he could. [Doc. 80-2: Munday Decl.

at ¶ 8]. A cafeteria manager, however, took issue with the Plaintiff’s actions

and began “stalking and harassing” him in the cafeteria, causing the Plaintiff
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considerable anxiety and distress. [Id. at ¶ 9]. The Plaintiff repeatedly went

to Gaisser and asked him to intervene on the Plaintiff’s behalf and “to broker

an understanding with the cafeteria manager.” [Id.]. Gaisser, however,

refused to help the Plaintiff in this regard. [Id.].

      On February 7, 2018, the cafeteria manager confronted the Plaintiff

about again violating the cafeteria rules. The Plaintiff cursed loudly, told the

manager to get out of his face, and left the cafeteria, kicking the door open

and taking cafeteria glassware and a bowl with him. [Doc. 69-4: Gaisser

Decl. at ¶ 9; Doc. 70-2: Gaisser Decl. Exs. D & E]. After leaving the cafeteria,

the Plaintiff immediately met with Gaisser and reported that the Plaintiff told

the cafeteria staff member to “get the fuck out of my face, bro” when

approached by staff about the to-go box rule. [Doc. 70-2: Gaisser Decl. Ex.

E at 4]. The Plaintiff also said to Gaisser that “he [the staff member] was

lucky he didn’t get socked in the face.” [Id.].

      As a result of his conduct in the school cafeteria, the Plaintiff was

charged with violating the Code of Conduct, his second code violation since

beginning at LMC. [See Doc. 70-2: Gaisser Decl. Ex. C at 1, Ex. E at 1]. At

a hearing held in February 2018, the Plaintiff was found responsible for the

conduct violations by a disciplinary panel, and he was placed on probation


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until the end of the Fall 2018 semester. [See Doc. 69-4: Gaisser Decl. at ¶

12; Doc. 70-2: Gaisser Decl. Ex. E; Doc. 69-7: Munday Dep. at 35].

      Two months after the hearing, in April 2018, the Plaintiff leaned on the

edge of an already-cracked porcelain countertop in a bathroom of his

dormitory, and the countertop broke. [Doc. 69-4: Gaisser Decl. at ¶ 13; Doc.

70-2: Gaisser Decl. Ex. F; Doc. 80-2: Munday Decl. at ¶ 13]. Gaisser

performed an investigation and found that the Plaintiff was responsible for

the damage.     [See Doc. 69-4: Gaisser Dec. at ¶¶ 13-14]. After being

assessed for the cost of the broken countertop, the Plaintiff accused Gaisser

and residence staff of lying and trying to scam him, stating in an email: “Nice

attempt at tring [sic] to scam me out of my money but it wont [sic] work!!”

[Doc. 70-2: Gaisser Decl. Ex. F at 4]. The Plaintiff also passed a note under

the door of a student whom he believed to have reported him that said,

“You’re a fag!” [Doc. 69-4: Gassier Decl. at ¶ 14; Doc. 70-2: Gaisser Decl.

Ex. G; see also Doc. 69-7: Munday Dep. at 27-30, 88-96].

      At the end of the Spring 2018 semester, when the students were

preparing to leave campus, the Plaintiff was charged approximately $13 at

the student bookstore when he returned a rental textbook in a significantly

damaged condition. [Doc. 69-4: Gassier Decl. at ¶ 15; Doc. 70-2: Gaisser

Decl. Ex. H]. The Plaintiff screamed at the store manager, and then at
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Gaisser and Driggers when they tried to calm the Plaintiff after the incident.

[Id.]. Gaisser and Driggers did not pursue conduct charges against the

Plaintiff because the semester had ended. [Id.].

      The Plaintiff’s disruptive behavior continued through the Fall 2018

semester, including interrupting classes to make off-topic comments, vaping

in class, and not turning in assignments. [Id. at ¶ 16]. Gaisser tried several

times to meet with the Plaintiff to discuss his behavior, as it could result in a

student conduct violation, but the Plaintiff avoided his meeting requests.

[Doc. 69-4: Gassier Decl. at ¶ 16].

      On January 31, 2019, Tim Shatley, a LMC faculty member who was

auditing Dr. Rachel Chrane’s Spanish 211 class, reported to Gaisser an

incident that occurred the day before in class. Shatley reported hearing the

Plaintiff ask a female student, identified in the record as K.H., “why she was

being such a fucking cunt.” When K.H. told the Plaintiff to be respectful, he

told her to “stop being so cunty.” [Doc. 69-10: Gaisser Dep. at 51-53; Doc.

70-2: Gaisser Decl. Ex. J at 8]. Shatley reported that the Plaintiff repeated

this word and other abusive language a few more times. [Id.]. In response

to the report, Gaisser asked K.H., Dr. Chrane, and four other potential

witnesses in the class to provide an objective, detailed description of what

had happened. [Doc. 69-10: Gaisser Dep. at 53, 54, 91-92]. According to
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one statement, the Plaintiff and K.H. had claimed the same topic from a

discussion list for a class assignment and disputed who chose it first. [Doc.

70-2: Gaisser Decl. Ex. J at 7]. When K.H. told the Plaintiff that they could

check the list online to see who had selected it first, the Plaintiff called her a

“cunt.” [Id.]. K.H. replied that he could not speak to her that way and an

argument began back and forth between K.H and the Plaintiff, in which K.H.

complained about the Plaintiff’s disruptive behaviors in class, including

vaping, videotaping other students during class without permission, and

speaking over other students about unrelated subjects. [Id.]. When Dr.

Chrane intervened, the Plaintiff complained about K.H. being disrespectful

toward him, and K.H. reported that the argument began after the Plaintiff

called her a “cunt.” [Id.]. When Dr. Chrane learned that this remark was

made, she removed the Plaintiff from the room and spoke with him.

However, when they returned to class, the Plaintiff continued to mock K.H.

and asked if she was crying. [Id.]. Ultimately, Dr. Chrane changed the

Plaintiff’s seat. [Id.].

      A second statement described the same course of events leading up

to the Plaintiff’s remark to K.H., but stated that the Plaintiff kept “calling her

a c*nt and said “I hate your bullsh**” over and over again in front of the entire


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class, and when the altercation ended, the Plaintiff rolled his eyes and said,

“Oh now she’s crying, typical.” [Id. at 9].

         Dr. Chrane sent an email to Gaisser with her own statement, clarifying

that she intervened when she heard K.H. tell the Plaintiff that he needed to

speak respectfully of others, but that she did not hear the initial remarks,

including what caused the dispute. [Id. at 3]. Dr. Chrane also noted that the

Plaintiff “murmured” an apology after they returned to the classroom from the

hallway. [Id.].

         Another statement submitted to Gaisser stated that Dr. Chrane had

taken the Plaintiff out to the hallway a second time and urged him to

apologize to K.H. again. [Id. at 10]. However, when they returned and the

Plaintiff apologized, he included the statement, “some words are

inappropriate to use regardless of how someone acts,” which the witness

perceived as blaming K.H. for the incident. [Id.]. Dr. Chrane subsequently

confirmed that this statement was an accurate description of what happened.

[Id.].

         The Plaintiff admits that he “impulsively overreacted” to K.H.’s initial

comments by asking her quietly “why are you acting like a c*nt,” for which he

immediately apologized. [Doc. 80-2: Munday Decl. at ¶ 15]. The Plaintiff

described the incident as “so low key” that Dr. Chrane did not even hear the
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exchange from another part of the room and did not report it as a conduct

issue. [Id.]. The Plaintiff later testified that, during his conversation with Dr.

Chrane in the hallway, she told him “something along the lines of they are

trying to kick you out of here.” [Doc. 69-7: Munday Dep. at 36].

      On February 4, 2019, Gaisser sent the Plaintiff an email explaining that

a disciplinary hearing would take place to determine whether the Plaintiff had

engaged in a conduct violation based upon reports that “an altercation

between you and another classmate allegedly occurred on Thursday

afternoon in which you called this individual a variety of inappropriate words

in a classroom full of people after she had requested you to stop.” [Doc. 70-

2: Gaisser Decl. Ex. J at 5]. The email provided the hearing date, time, and

location and directed the Plaintiff to contact Gaisser with questions. [Id.].

Gaisser also had an assistant place the Notice of Charge under the door of

the Plaintiff’s residence the following day. [Id. at 6].

      Later on February 4th, the Plaintiff approached Gaisser and asked him

questions about the scheduled hearing. [Doc. 69-7: Munday Dep. at 36-37].

During this conversation, the Plaintiff asked Gaisser “what was going on with

the situation,” “if Ms. Chrane could be there,” and “for some extra time,” and

that Gaisser “said no.” [Id. at 37]. The Plaintiff did not recall explaining to

Gaisser why he made these requests, and Gaisser testified that the Plaintiff
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did not disclose his disability or explain that he was making any of these

requests as an accommodation. [Id.; Doc. 69-10: Gaisser Dep. at 74, 101-

04].

        Gaisser met with Dr. Chrane and Dean of Faculty, Pam Vesely, at their

request, to discuss the incident just before the hearing, at 2:30 p.m. on

February 6, 2019. At this meeting, Dr. Chrane never expressed any plans,

willingness, availability, or any desire to testify as a witness at the disciplinary

hearing. [Doc. 69-10: Gaisser Dep. 72-73]. Neither Dr. Chrane nor Dr.

Vesley mentioned the Plaintiff having ADHD to Gaisser at the meeting. [Id.

at 71].

        According to Dr. Chrane, the Plaintiff never asked her to attend the

disciplinary hearing. [See Doc. 69-11: Chrane Dep. at 123-24]. The Plaintiff

could not recall if he asked Dr. Chrane to be present at his disciplinary

hearing. [Doc. 69-7: Munday Dep. at 38]. However, the Plaintiff believed

that, had Dr. Chrane testified at the disciplinary hearing, she would have told

the panel that “there was a little incident but it had been resolved, and that

there wasn't any further issues, and there wasn't going to be any further

issues.” [Doc. 69-7: Munday Dep. at 117]. In the Plaintiff’s opinion, “Ms.

Chrane would have benefitted me a lot.” [Id. at 119].


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       The February 6, 2019 disciplinary hearing was conducted by Joshua

Gaisser and three other LMC administrators. [Doc. 69-4: Gaisser Dec. at ¶

20]. After each participant introduced themselves, Gaisser explained that

the panel was formed to hold conferences about serious incidents and

described the process.4 Gaisser asked the Plaintiff if he had questions, and

Plaintiff replied, “No, sir.” [Doc. 70-5 at 2]. Gaisser also described the

incident and the charges that the panel would be reviewing, and read the

descriptions of the charges from the Student Handbook. After that, the

witness statements were distributed for the participants to read through. The

Plaintiff spoke up to add comments, but never expressed that he did not

understand the charges against him or the process. During the hearing, the

Plaintiff described the incident that had occurred on January 31, 2019 in Dr.

Chrane’s class. He admitted to using the “c word” and telling K.H. that he

was “tired of hearing [her] bullshit.” [Id. at 10]. He further admitted that he

had made the profane remark loudly enough to be heard by others. He

denied mocking K.H. but stated that she “wasn’t actually crying” and that he



4 The hearing was recorded, and the Defendant has submitted that recording to the Court
for review. [Doc. 80]. Additionally, the Defendant submitted a transcript of that hearing.
[Doc. 70-5]. Although that transcript is not certified, the Court has compared the transcript
to the recording and finds it to be an accurate representation of that recording.


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felt had been disrespected by her. [Id. at 12]. The Plaintiff also admitted in

the hearing to making off-topic statements in class, which Dr. Chrane had

discussed with him, as well as vaping in class, which the Plaintiff stated Dr.

Chrane “didn’t mind.”5 [Id. at 13].

       After the panel made its decision and Gaisser began reading it to the

Plaintiff, he interrupted throughout and began criticizing the decision and the

panel, with remarks such as, “That’s outrageous,” … “Why, is this as serious

that it needs to be like this? What's the deal?” … “You know, what's crazy is

it’s such a double standard,” and “Y'all don't give a shit about me, is that what

this is about, like, how can y'all look at me and do this to me?” [Id. at 19].

He also downplayed his actions and continued to blame K.H., saying, “The

girl was being rude to me, I let it slide. I asked her why she's being a cunt.

And that's such a big deal? To ask a girl why she--?” [Id. at 20].

       Despite the Plaintiff’s outbursts, the panel managed to explain that:

              We made this decision because you are not taking
              this educational thing seriously. Your disruptiveness,
              your name calling, the things that you've done
              outside the classroom, whether it be the dining hall,

5Dr. Chrane later testified in her deposition that the Plaintiff ‘s vaping and other behaviors
had truly disrupted her class and she regretted not addressing those issues sooner. [Doc.
69-11: Chrane Dep. 46, 69-70, 51-54, 136-37, 138-39]. Dr. Chrane also testified at her
deposition that she believed the Plaintiff’s conduct toward K.H. was inappropriate and
unacceptable, no matter what caused him to use the word, and she thought he should be
out of the classroom and off campus. [Id. at 79-81, 109, 138].
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              whether it be in other classes, not just this specific
              one, you're not taking the education seriously.

[Id.].

         The Plaintiff was found responsible for conduct that was detrimental to

the learning environment, including wasting time in class by talking about off-

topic subjects, vaping in class, and engaged in abusive and harassing

language toward other students, including calling one student a “fag” and

another student a “cunt.”      [Doc. 69-4: Gaisser Decl. at ¶ 21]. The panel

decided to suspend the Plaintiff from enrollment, with his eligibility to re-enroll

for the Fall 2019 semester conditioned on submitting a ten-page paper

reflecting on his behavior and how he could avoid misconduct in the future.

[Id.]. The Plaintiff never submitted the paper or applied for re-enrollment at

LMC. Instead, the Plaintiff enrolled at Appalachian State University, where

he made the Dean’s List. [Doc. 80-2: Munday Decl. at ¶ 19].

IV.      DISCUSSION

         The Plaintiff has alleged two violations of the ADA and Rehabilitation

Act against LMC. First, he contends that he was excluded from LMC based

on his disability. Second, he contends that LMC failed to make reasonable

accommodations for his disability. The Court will address each of these

claims in turn.

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       A.     Exclusion Claim

       Title III of the ADA provides, in pertinent part, that “[n]o individual shall

be discriminated against on the basis of disability in the full and equal

enjoyment of the goods, services, facilities, privileges, advantages, or

accommodations of any place of public accommodation . . . .” 42 U.S.C. §

12182(a).6 As an undergraduate private school, LMC qualifies as a “public

accommodation” under Title III of the ADA. The Rehabilitation Act precludes

federal grantees from excluding, denying benefits to, or discriminating

against any “otherwise qualified individual . . . solely by reason of her or his

disability.” 29 U.S.C. § 794(a). LMC is subject to the provisions of the

Rehabilitation Act As the recipient of federal financial assistance.

       Although they employ slightly different language, the ADA and the

Rehabilitation Act “impose similar requirements” and “require a plaintiff to

demonstrate the same elements to establish liability.” Halpern v. Wake

6 In 2008, Congress passed the ADA Amendments Act (“ADAAA”), which was intended
to “reinstat[e] a broad scope of protection to be available under the ADA.” Pub. L. No.
110-325, § 2(b)(1), 122 Stat. 3553 (2008). While preserving the ADA’s definition of
“disability,” the ADAAA made it easier for plaintiffs to show that an impairment
“substantially limits one or more major life activities.” See 29 C.F.R. § 1630.2(j)(1)(i)
(noting that the term “substantially limits” was not intended “to be a demanding standard”);
§16302.(j)(1)(ii) (noting that an impairment “need not prevent, or significantly or severely
restrict, the individual from performing a major life activity in order to be considered
substantially limiting”). For ease of reference, the Court will refer to the amended Act
simply as “the ADA.”


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Forest Univ. Health Sciences, 669 F.3d 454, 461 (4th Cir. 2012).7 A disability

discrimination claim under either statute may be proven through direct

evidence or through the burden-shifting framework first articulated by the

Supreme Court in McDonnell Douglas v. Green, 411 U.S. 792, 802 (1973).

See Raytheon Co. v. Hernandez, 540 U.S. 44, 49-50 & n.3 (2003). “This

burden-shifting analysis requires the plaintiff first to establish, by a

preponderance of the evidence, a prima facie case of discrimination. Once

a plaintiff meets that initial burden, the burden shifts to the defendant to show

that its decision was made ‘for a legitimate, nondiscriminatory reason,’ and

if that hurdle is crossed, then the presumption of discrimination is rebutted

and the burden returns to the plaintiff to prove that the university's proffered

reason was pretext for discrimination.” Neal v. East Carolina Univ., -- F. 4th

--, 2022 WL 16703136, at *1 (4th Cir. Nov. 4, 2022).

       To establish a prima facie case for exclusion from an educational

program under either the ADA or the Rehabilitation Act, a plaintiff must show

that “(1) he has a disability, (2) he is otherwise qualified to participate in the




7As the Fourth Circuit noted in Halpern, the two statutes differ slightly with respect to the
element of causation. Under the ADA, a plaintiff must show that the disability was a
“motivating cause” of the exclusion, whereas under the Rehabilitation Act, the plaintiff
must establish that the exclusion occurred “solely by reason of” a disability. Halpern, 669
F.3d at 461-62.
                                            23



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defendant’s program, and (3) he was excluded from the program on the basis

of his disability.” Halpern, 669 F.3d at 461 (citing Constantine v. Rectors &

Visitors of George Mason Univ., 411 F.3d 474, 498 (4th Cir. 2005)) (footnote

omitted).

              1.     Disability

       With respect to the first element of the prima facie case, a plaintiff may

establish that he has a “disability” by demonstrating the existence of “a

physical or mental impairment that substantially limits one or more major life

activities of such individual.”           29 U.S.C. § 705(9)(B); 42 U.S.C. §

12102(1)(A).8 In this context, “major life activities” are defined as including


8 A plaintiff also may prove a “disability” by demonstrating that he has a “record of such
impairment” or that he has been “regarded as having such an impairment.” 29 U.S.C. §
705(9)(B); 42 U.S.C. § 12102(1)(B), (C). An individual has a “record of a disability” where
that individual “has a history of, or has been misclassified as having, a mental or physical
impairment that substantially limits one or more major life activities.” 29 U.S.C. §
1630.2(k)(1). An individual may be “regarded as” disabled when: “(1) a covered entity
mistakenly believes that a person has a physical impairment that substantially limits one
or more major life activities, or (2) a covered entity mistakenly believes that an actual,
nonlimiting impairment substantially limits one or more major life activities.” Blackburn v.
Trustees of Guilford Tech. Cmty. Coll., 733 F. Supp. 2d 659, 663 (M.D.N.C. 2010)
(quoting Sutton v. United Air Lines, Inc., 527 U.S. 471, 489, (1999), superseded by
statute, ADA Amendments Act of 2008, Pub. L. No. 110–325, 122 Stat. 3553). The
Plaintiff does not contend that he meets either of these definitions, nor could he. The
Plaintiff has not presented evidence of a documented record of any disability with LMC;
to the contrary, it is undisputed that he failed to go through the necessary steps to present
documentation and declare his disability as required by school policy. Further, the
Plaintiff does not contend that he was mistakenly regarded as having a disability when
he, in fact, was not disabled. Accordingly, the Court will limit its analysis to whether the
Plaintiff has established that he has an actual impairment that substantially limits one or
more major life activities.

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such activities as “caring for oneself, performing manual tasks, seeing,

hearing, eating, sleeping, walking, standing, lifting, bending, speaking,

breathing, learning, reading, concentrating, thinking, communicating, and

working.” 42 U.S.C. § 12102(2)(A).

      Here, the Plaintiff claims that he was discriminated on the basis of his

disability of ADHD.9 The Plaintiff attests in his Declaration that he was

diagnosed with ADHD in 2005, at the age of seven. [Doc. 80-2: Munday

Decl. at ¶ 5]. The Plaintiff, however, has not presented any competent

medical evidence to establish this diagnosis. The Plaintiff submits a letter

dated November 11, 2021, from Steven M. Sutherland, M.D., stating that Dr.

Sutherland first saw the Plaintiff in 2014, and that the Plaintiff “was felt at that

time to have Attention Deficit Hyperactivity Disorder – combined type.” [Doc.

80-2: Munday Decl. Ex. 1].            This unauthenticated, unsworn document,

however, is inadmissible at the summary judgment stage to prove that the




9 In his Declaration, the Plaintiff refers to his having “ADHD, anxiety, and related
challenges.” [Doc. 80-2: Munday Decl. at ¶ 3]. However, the Plaintiff has not presented
any forecast of evidence related to any separate diagnosis of anxiety or other “challenges”
apart from his alleged ADHD diagnosis. Rather, it appears that he considers his anxiety
to be a symptom of his ADHD. [See Doc. 80-3: W. Munday Decl. at ¶ 3 (noting that
Plaintiff’s ADHD “contributes to persistent worry and anxiety”); Doc. 80: Pltf. MSJ
Response at 11 (referring to “ADHD and related syndromes such as anxiety”)]. As such,
the Court will consider the Plaintiff’s alleged anxiety not as a separate disability but as
part of his claimed ADHD condition.
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Plaintiff in fact had been diagnosed with ADHD. See Edens v. Kennedy, 112

F. App’x 870, 879 (4th Cir. 2004) (“unsworn reports are inadmissible on

summary judgment unless accompanied by affidavits or depositions

swearing to their contents and conclusions”).

      In the course of discovery, the Plaintiff produced several documents

identified as “medical records.” However, none of the documents produced

by the Plaintiff is admissible evidence establishing any kind of diagnosis. The

first of these was an email sent by the Plaintiff’s mother to herself with a list

of providers and medications. [Doc. 70-4: Munday Dep. Exs. at 35]. The

Plaintiff also produced two invoices from psychologist Raymond Mulligan,

with clients listed as “Ellen Munday” and “Andrew Munday,” for “professional

services” valued at “$0” during one week in December 2016. [Id. at 37-38].

Additionally, the Plaintiff testified that he took Adderall while enrolled at LMC.

[Doc. 69-7: Munday Dep. at 17]. However, the Plaintiff never produced any

prescription records or medical records evidencing that he was receiving

treatment for ADHD while at LMC.

      While expert evidence is not always required to establish a disability,

courts generally have required expert testimony when “a condition would be

unfamiliar to a lay jury and only an expert could diagnose that condition.”

Mancini v. City of Providence, 909 F.3d 32, 41 (1st Cir. 2018); Felkins v. City
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of Lakewood, 774 F.3d 647, 652 (10th Cir. 2014) (holding that expert

evidence was required to prove plaintiff’s condition of avascular necrosis and

the impact of such condition on plaintiff’s major life activities, “for those are

clearly matters beyond the realm of common experience and require the

special skill and knowledge of an expert witness”) (internal quotation marks

and citation omitted). By contrast, if an impairment would be obvious to a

jury, then courts have concluded that expert medical evidence is not required

to satisfy this element. See Marinelli v. City of Erie, Pa., 216 F.3d 354, 361

(3d Cir. 2000) (holding that plaintiff’s failure to present medical evidence of

his disability was not fatal to his claim as “arm and neck pain . . . are among

those ailments that are the least technical in nature and are the most

amenable to comprehension by a lay jury”); Katz v. City Metal Co., 87 F.3d

26, 31 (1st Cir. 1996) (“[W]e have no doubt that a rational jury could conclude,

even without expert medical testimony, that [the plaintiff's heart attack was]

a condition affecting the cardiovascular system and therefore that he had a

physical impairment under the ADA.”). As the First Circuit explained in

Mancini:

            A missing arm serves as an obvious example of an
            impairment that can be demonstrated without any
            supporting medical testimony. That is not to say,
            though, that an impairment must be as apparent as
            the lack of a limb in order to render medical evidence
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             unnecessary. . . . On a spectrum that ranges from
             missing limbs to rare medical infirmities, some
             conditions plainly fall within the universe of
             impairments that a lay jury can fathom without expert
             guidance. These conditions do not require medical
             evidence in an ADA case.

Mancini, 909 F.3d at 41-42 (internal citations omitted).

      In the Court’s view, a neurodevelopmental10 condition such as ADHD

does not fall within “the universe of impairments that a lay jury can fathom

without expert guidance.” See id. While most jurors may be familiar with the

term “ADHD”—and indeed may know someone who has been diagnosed

with that condition—determining whether a particular plaintiff, in fact, has

ADHD, and the extent to which that condition impacts that particular plaintiff,

are not matters that are readily susceptible to observation by a lay person.

Rather, an evaluation by a medical professional is necessary to diagnose

whether a person has ADHD and to determine the extent to which that

person is affected by that condition. In fact, the term “ADHD” is now so

commonly used among the lay population with regard to any inattentiveness

that expert identification or diagnosis of the actual neurodevelopmental

condition is necessary to make a prima facie showing of an actual disability


10See What is ADHD? | CDC, https://www.cdc.gov/ncbddd/adhd/facts.html (last accessed
Nov. 22, 2022) (describing ADHD as a neurodevelopmental disorder).

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based thereon. For this reason, absent competent medical evidence of an

ADHD diagnosis, the Court concludes that the Plaintiff has failed to present

a forecast of evidence from which a reasonable jury could conclude that he

has an “impairment” within the meaning of the ADA.11

      Even if the Plaintiff had presented competent evidence regarding his

claimed impairment, the Plaintiff does not offer any competent medical

evidence to establish how his ADHD substantially limits any of his major life

activities.

      The 2008 amendments to the ADA made clear that satisfying this

evidentiary burden is not supposed to be difficult.                See 29 C.F.R. §

1630.2(j)(1)(i) (noting that the term “substantially limits” was not intended “to

be a demanding standard”). Nevertheless, the Plaintiff must present some

competent evidence to demonstrate a substantial limitation. On this point,




11 The Plaintiff attempts to excuse his lack of competent medical evidence by arguing that
LMC was “well aware that Plaintiff had ADHD.” [Doc. 80 at 13]. Mere awareness that the
Plaintiff (and his parents) asserted that he has ADHD, or that he exhibited some
symptoms thereof, however, does not substitute for evidence that would create a factual
issue as to whether the Plaintiff, in fact, had an actual disability. Indeed, even if the
Plaintiff were proceeding under a theory he was “regarded as” being disabled, evidence
of LMC’s awareness of his claimed impairment would not create a genuine issue as to
this element. See Haulbrook v. Michelin N. Am., Inc., 252 F.3d 696, 703 (4th Cir. 2001)
(“The fact that an employer is aware of an employee’s impairment, without more, is
insufficient to demonstrate either that the employer regarded the employee as disabled
or that perception caused the adverse employment action.”) (citation and internal
quotation marks omitted).
                                              29



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the Plaintiff cites to a number of medical articles describing the behaviors

and impairments associated with a diagnosis of ADHD. [See Doc. 80 at 12].

This type of hearsay, however, is inadmissible on summary judgment. See

Edens, 112 F. App’x at 879. Moreover, determining whether an impairment

substantially limits a major life activity “requires an individualized

assessment.” 29 C.F.R. § 1630.2(j)(iv). Thus, merely relying upon scholarly

articles which discuss the wide array of symptoms that may be associated

with ADHD does not demonstrate how this particular Plaintiff is substantially

limited in his major life activities by his condition.

      In an effort to establish how his ADHD impacts his major life activities,

the Plaintiff relies upon the declaration of his father, who purports to opine

about the Plaintiff’s limitations stemming from his ADHD. [See Doc. 80-3:

W. Munday Decl. at ¶ 3]. Specifically, Mr. Munday states that the Plaintiff

            is impaired in many major life functions by the
            executive functioning problems such as poor impulse
            control, mood swings, and difficulty focusing that he
            struggles with daily. Examples of major life activities
            in which he is impaired include: problems with
            maintaining meaningful relationships due to the
            numerous        ADHD       symptomatic         behavior
            characteristics; problems with employment as
            employers expect one to be organized, attentive,
            focused, and to follow directions, all of which Andrew
            struggles with.


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              To give some more concrete examples, Andrew’s
              ADHD causes him difficulty with establishing normal
              sleeping habits; erratic sleeping patterns often leave
              him tired and irritable. He has trouble meeting
              deadlines, as reflected in some of his professors’
              comments, because ADHD causes forgetfulness and
              trouble with time management. In every facet of life
              activities, ADHD creates emotional challenges and
              struggles to control one’s behavior.            ADHD
              contributes to persistent worry and anxiety. As in
              Andrew’s case, ADHD sufferers often have
              emotional outbursts and lash out if annoyed or
              impatient, as Andrew did in the cafeteria and in
              Spanish Class.

[Id.]. As can be seen by this excerpt, Mr. Munday’s opinions go far beyond

his personal observations of his son’s conduct and behaviors. The behaviors

he cites would generally be said to be descriptive of college-age students.

However, he proceeds to make sweeping generalizations about the common

symptoms and consequences of ADHD. He then attempts to draw a causal

connection between a number of his son’s behaviors and his claimed

condition.     While Mr. Munday may be competent to testify about his

observations of his son’s behavior, such as erratic sleep patterns, lack of

organization or difficulty in maintaining relationships,12 he lacks the expertise

to   conclude       that    these     behaviors      are    a    manifestation       of    a


12It is undisputed that LMC’s actions were not based on the Plaintiff’s erratic sleep habits,
lack of organization or difficulty in maintaining relationships, but rather based on the
Plaintiff’s misconduct.
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neurodevelopmental disorder such as ADHD, and not because of some

other condition that causes anger management issues, such as oppositional

defiant disorder. A layperson’s personal medical opinions are incompetent

and inadmissible on summary judgment. See Mallon v. Frostburg State

Univ., No. BPG-19-795, 2021 WL 4215331, at *7 (D. Md. Sept. 15, 2021).

Because the Plaintiff has not offered any competent medical evidence to

establish that he has ADHD or that this impairment substantially limits any of

his major life activities, the Court concludes that the Plaintiff has failed to

present a forecast of evidence from which a reasonable jury could conclude

that he is “disabled” within the meaning of the ADA or the Rehabilitation Act.

            2.     Qualified

      Even if the Plaintiff had presented a sufficient forecast of evidence to

establish that he has a disability, he must also demonstrate that he was

“qualified” to participate in LMC’s undergraduate degree program. A plaintiff

is “qualified” if he is “an individual with a disability who, with or without

reasonable modifications to rules, policies, or practices, . . . meets the

essential eligibility requirements for the receipt of services or the participation

in programs or activities provided by a public entity.” 42 U.S.C. § 12131(2).

Therefore, to prove that he is “qualified,” the Plaintiff must show “(1) that he

could satisfy the essential eligibility requirements of the program, i.e., those
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requirements that bear more than a marginal relationship to the [program] at

issue, and (2) if not, whether any reasonable accommodation by the

defendant would enable the plaintiff to meet these requirements.” Halpern,

669 F.3d at 462 (citation, internal quotation marks, and footnote omitted).13

       Recognizing that “courts are ill-suited to the task of determining the

essential eligibility requirements of an academic program,” courts within the

Fourth Circuit “traditionally afford great deference to a school’s determination

of the qualifications for its programs.” Neal, 2022 WL 16703136, at *10; see

also Halpern, 669 F.3d at 463 (“Because we are likewise at a comparative

disadvantage in determining whether Halpern is qualified to continue in the

Doctor of Medicine program and whether his proposed accommodations

would effect substantial modifications to the Medical School's program, we

accord great respect to Wake Forest's professional judgments on these

issues.”) (citation and internal quotation marks omitted). In affording such

deference, however, the Court must carefully review the record to ensure


13 The Plaintiff contends that a student is “not qualified” to participate in an academic
program only if that student poses a direct threat to the health and safety of others. [Doc.
80 at 16]. The Plaintiff does not cite any Supreme Court or Fourth Circuit authority for
this argument. Rather, the Plaintiff cites Onishea v. Hopper, 171 F.3d 1289 (11th Cir.
1999). In that case, the Eleventh Circuit held that, under the Rehabilitation Act, a person
who poses a significant risk of communicating an infectious disease to others in the
workplace is not “otherwise qualified” for his or her position if a reasonable
accommodation cannot eliminate that risk. Id. at 1296-97. Onishea, therefore, is entirely
distinguishable and has no application to the present case.
                                             33



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that “the educational institution has conscientiously carried out its statutory

obligation to provide reasonable accommodations to persons with

disabilities” and not permit a school’s academic decisions “to disguise truly

discriminatory requirements.”    Halpern, 669 F.3d at 463 (citations and

internal quotation marks omitted).

      With this deferential standard in mind, the Court now examines the

requirements of LMC’s academic program in order to determine whether,

with or without a reasonable accommodation, the Plaintiff could satisfy those

requirements. According to the LMC Student Handbook, the hallmarks of

LMC students are “academic achievement, professional skills and concern

for humanity.” [Doc. 69-4: Gaisser Decl. Ex. B: 2018-19 Student Handbook

at 6]. All students are expected to act in a manner that does not infringe

upon the rights and responsibilities of others, including by refraining from

disruptive classroom behavior, and students are expected to maintain a high

standard of conduct both on and off campus. These requirements “bear

more than a marginal relationship” to LMC’s academic mission. Ensuring

that students do not infringe upon the rights of other students and that they

refrain from engaging in disruptive classroom behavior is essential to

creating a positive and productive learning environment for all students.


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Such requirements are necessary, as a school cannot allow one disruptive

student to impede the education of others.

      While the Plaintiff may have been academically qualified, the

undisputed forecast of evidence demonstrates that he failed to meet the

basic standard of conduct required by undergraduate students at LMC. The

Plaintiff had an ongoing pattern of conduct violations and abusive behavior

beginning in his first semester, including entering a residence hall without

authorization (November 2017); refusing to follow the rules of the cafeteria

and swearing at staff who attempted to enforce them (January and February

2018); breaking a bathroom sink and, when confronted, accusing staff of

lying and trying to scam him out of money (April 2018); calling a hallmate a

“fag” for reporting him as the one who broke the sink (April 2018); screaming

at staff, the Assistant Dean, and the Dean of Students for charging him for

damaging a rental textbook (May 2018); vaping and being disruptive in the

classroom (Fall 2018 and Spring 2019); and finally, calling a female

classmate a “cunt” in class, berating her for being upset about it, and refusing

to apologize in a way that did not blame the classmate (January 2019).

      The Plaintiff attempts to diminish this misconduct, arguing that these

incidents were merely “insignificant dust-ups and conflicts that are to be

expected among maturing college students” and that his behavior was, at
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most, a “minor disruption.” [Doc. 80 at 16, 17]. While the Court is obligated

to view the evidence in the light most favorable to the Plaintiff and to draw all

reasonable inferences in his favor at this stage, characterizing the Plaintiff’s

misconduct as “insignificant dust-ups” and typical “conflicts” among college

students is not a reasonable inference to be drawn in this case. Even

viewing the evidence in the light most favorable to the Plaintiff, his emotional

outbursts, name-calling, and other disruptive conduct are serious incidents

that go far beyond the conduct exhibited by the typical college student.

LMC’s concern and reaction are not mere “pearl-clutching over epithets,” as

the Plaintiff characterizes it. [Doc. 80 at 17].

      The Plaintiff also argues that the fact that he is now attending another

university and performing well academically is evidence that he is, in fact,

“qualified” to be an undergraduate student and therefore could have

participated in the LMC program with reasonable accommodations. The

Court, however, views this evidence more as suggesting that the Plaintiff’s

emotional outbursts and disruptive conduct do not arise from any immutable

neurodevelopmental disability but rather from a lack of self-control, and that

the Plaintiff, having suffered adverse consequences as a result of his violent

and disruptive behavior at LMC, learned to control his emotions and improve


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his communication skills, thereby enabling him to succeed in another

academic program.

      Having determined that the Plaintiff’s behavior rendered him

unqualified to participate in the undergraduate program at LMC, the Court

must consider whether there was a reasonable accommodation available by

which the Plaintiff could have become qualified. “Federal law mandates that

federal grantees and public accommodations make ‘reasonable,’ but not

‘substantial’ or ‘fundamental,’ modifications to accommodate persons with

disabilities.” Halpern, 669 F.3d at 464. “Although determination of the

reasonableness of a proposed modification is often fact-specific, a court may

grant summary judgment in favor of a defendant if the plaintiff fails to present

evidence from which a jury may infer that the accommodation is ‘reasonable

on its face, i.e., ordinarily or in the run of cases,’ or if the defendant

establishes as a matter of law that the proposed modification will cause

‘undue hardship in the particular circumstances.’” Id. (quoting in part U.S.

Airways, Inc. v. Barnett, 535 U.S. 391, 401-02 (2002).

      The Plaintiff does not specifically address what reasonable

accommodations were necessary in order to address his behavioral issues.

However, in the context of his failure-to-accommodate claim, he identifies

two specific accommodations which he claims he requested and was denied
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by LMC. First, he points to the fact that he requested Gaisser to intervene

on his behalf with the cafeteria staff regarding his dispute about taking food

from the cafeteria. Second, he cites his request to Gaisser for more time

and assistance in preparing for his disciplinary hearing as well as having

certain witnesses testify on his behalf. These “accommodations,” however,

have no apparent relation to the Plaintiff’s claimed disability, particularly

since the Plaintiff had not provided any notice to LMC of behavioral issues

arising from ADHD when specifically given the opportunity to do so.

Moreover, these accommodations fail to address the underlying issue—the

Plaintiff’s repeated outbursts and disrespectful conduct toward cafeteria

staff, as well as other students. These proposed accommodations would

have done nothing to help the Plaintiff avoid committing such misconduct in

the future. “A school, if informed that a student has a disability with

behavioral manifestations, may be obligated to make accommodations to

help the student avoid engaging in misconduct. But, the law does not require

the school to ignore misconduct that has occurred because the student

subsequently     asserts    it   was        the   result   of   a   disability.”

Halpern, 669 F.3d at 465.

      The Plaintiff does not identify any other accommodation that would

have rendered him “qualified” other than to suggest that his behavioral
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problems could have been addressed by LMC staff and faculty sitting down

and talking with him when he had an emotional outburst or experienced

difficulty in communicating respectfully.             This proposed accommodation,

however, is unreasonable on its face for a number of reasons. First and

foremost, the Plaintiff never made a request for an accommodation of any

behavioral challenges stemming from his ADHD. For example, while the

Plaintiff asked for Gaisser to intervene on his behalf14 in the situation

involving the cafeteria manager, it is undisputed that the Plaintiff never

requested such an intervention as a disability accommodation. Neither the

Plaintiff nor his father identified anger management or other behavioral

issues as symptoms of ADHD that required accommodations by the school.

While the Plaintiff’s father informally advised various staff and faculty that the

Plaintiff had ADHD, this was done in the context of requesting changes in his

grades or opportunities for extra credit or making up missed work when the

Plaintiff missed assignments or tests. Similarly, the Plaintiff claims that he

requested accommodations, but only in the form of extensions of time to

complete assignments.




14 It is not clear when kind of “intervention” that the Plaintiff sought, other than for Gaisser
to direct the cafeteria staff to allow the Plaintiff to use the cafeteria as he wished.
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      In response to these requests for academic accommodations, the

Plaintiff and his father were repeatedly advised that the Plaintiff needed to

declare his disability and request specific accommodations through Disability

Services, a process which the Plaintiff simply would not follow. LMC was not

obligated to accommodate any alleged behavioral issues stemming from the

Plaintiff’s ADHD until he had “provided a proper diagnosis ... and requested

specific accommodation.”15          Kaltenberger v. Ohio College of Podiatric

Medicine, 162 F.3d 432, 437 (6th Cir. 1998).

      Moreover, the Plaintiff’s proposed accommodation is simply not

feasible. Educators, particularly at the college level, cannot be expected to

suspend their instruction every time a student is disruptive in order to “sit

down and talk” with a student who is being continuously disruptive in their

class. If a modification “either imposes undue financial and administrative

burdens . . . or requires a fundamental alteration in the nature of the

program,” it is not a “reasonable” modification. Sch. Bd. of Nassau Cty., Fl.

v. Arline, 480 U.S. 273, 287 n.17 (1987) (citation omitted). The Plaintiff’s




15The Plaintiff asserts that he is otherwise qualified, as shown by his performance at his
new university. The Plaintiff has submitted nothing, however, to indicate that his improved
behavior at this university is the result of accommodations being provided to him. The
Court is left to wonder whether the Plaintiff has simply matured enough to learn how to
control his temper and disruptive behavior.
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proposed “accommodation” is not only an unreasonable burden on the

teachers; it deprives the other students of their opportunity to learn, thereby

fundamentally altering LMC’s academic program. See PGA Tour, Inc. v.

Martin, 532 U.S. 661, 682-83 (2001) (stating that if proposed accommodation

alters “an essential aspect” of the program, that would constitute a

“fundamental alteration” of the program and, therefore, is per se

unreasonable).16

       For all of these reasons, the Court concludes that the Plaintiff has failed

to present a forecast of evidence from which a jury could reasonably

conclude that he was “otherwise qualified” to be enrolled as an LMC student,

with or without reasonable accommodations.

              3.     Excluded On The Basis of Disability

       Even if the Plaintiff could satisfy the first two elements of his prima facie

case, he would also have to demonstrate that he was excluded from LMC

“on the basis of” his disability. To satisfy this element under the ADA, a

plaintiff must show that the disability was a “motivating cause” of the

exclusion, whereas under the Rehabilitation Act, the plaintiff must establish

that the exclusion occurred “solely by reason of” a disability. Halpern, 669


16 Similarly, cafeteria staff cannot be expected to allow a student to disregard cafeteria
rules in order to keep that student from having violent outbursts.
                                             41



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F.3d at 461-62. Under either standard, establishing causation requires more

than “the fact that the defendant is aware of the plaintiff’s impairment”; rather,

“a plaintiff must show that the adverse action occurred under circumstances

that raise a reasonable inference of unlawful discrimination.” Neal, 2022 WL

16703136, at *13 (citations and internal quotation marks omitted).

      Here, the undisputed forecast of evidence makes clear that the basis

for the Plaintiff’s suspension from school was his pattern of misconduct, not

a disability or his requests for accommodations for any disability. First and

foremost,   as   discussed     supra,   the   Plaintiff   never   requested    an

accommodation for behavioral symptoms related to ADHD. Further, as was

explained to the Plaintiff in his disciplinary hearing, the Plaintiff’s history of

misbehavior led the members of the disciplinary panel to conclude that the

Plaintiff was not taking his education seriously, and that a suspension was

appropriate in order to provide the Plaintiff with an opportunity to reflect upon

his behavior and to devise solutions to avoid such issues in the future.

Although the Plaintiff argues that his misconduct was the result of his ADHD,

that neither excuses his behavior nor renders LMC’s decision to suspend

him discriminatory. “[W]hile the ADA prohibits a university from dismissing

a student on account of a disability, a university is lawfully permitted to

dismiss a student on account of misconduct triggered by disability.” Neal,
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2022 WL 16703136, at *13. Therefore, even if the Plaintiff had presented a

forecast of evidence that he has a disability which has behavioral

manifestations, the Court, affording appropriate deference to the academic

decisions of LMC, must conclude that the Plaintiff has failed to present a

prima facie case that he was excluded from LMC on the basis of a disability.

      Although the Plaintiff failed to properly declare his ADHD diagnosis and

never sought accommodations for behavioral manifestations of his disability,

LMC nevertheless made significant efforts during the Plaintiff’s enrollment in

an effort to help him succeed as a student. The Plaintiff received academic

assistance from his guidance counselor, who helped him schedule his

classes, and he received assistance with his assignments from the Burton

Center for Student Success. Even though he never made any formal request

for accommodations, the Coordinator of Disability Services reached out to

the Plaintiff and attempted to schedule a meeting to discuss his needs, but

the Plaintiff did not cooperate.

      Even with regard to his behavioral issues, the Plaintiff was given

multiple warnings and citations in an attempt to correct his behavior. In some

instances, such as his angry outburst at being asked to pay for a damaged

rental textbook, he was not disciplined at all. The record of LMC’s attempts

to address the Plaintiff’s issues lacks any indicia that the Plaintiff was
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suspended from LMC on the basis of his disability. Despite these efforts, the

Plaintiff persisted in engaging in misconduct – disrupting class with off-topic

comments, vaping in class, kicking doors and getting in screaming matches

with cafeteria staff, and verbally assaulting fellow students. “[M]isconduct—

even misconduct related to a disability—is not itself a disability” and may be

a basis for dismissal. Martinson v. Kinney Shoe Corp., 104 F.3d 683, 686 n.

3 (4th Cir.1997); Halpern, 660 F.3d at 465.

      The lack of discriminatory intent is also evident from the fact that,

although LMC reserved “the right to dismiss any student who proves to be a

detriment to the welfare of the College and surrounding community” [Doc.

69-4: Gaisser Decl. Ex. B at 9], LMC did not expel the Plaintiff for his

misconduct. Instead, LMC suspended the Plaintiff for the remainder of the

spring semester and provided him the opportunity to re-enroll for the

following fall semester upon submission of a ten-page paper reflecting on his

behavior and how he could avoid misconduct in the future. The short length

of the Plaintiff’s suspension and the fact that LMC was willing to allow the

Plaintiff to return under such relatively easy conditions belie any intent to

discriminate or otherwise retaliate against the Plaintiff.

      For all of these reasons, the Court concludes that the Plaintiff has failed

to present a forecast of evidence from which a jury could reasonably
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conclude that he was excluded from LMC’s undergraduate program on the

basis of his disability.

      Even if the Plaintiff could establish a prima facie case of disability

discrimination, the Plaintiff’s ADA and Rehabilitation Act claims fail because

LMC has presented a legitimate, non-discriminatory reason for his

suspension, namely, his disruptive and offensive conduct during his two

years as a student at LMC. LMC’s decision to suspend the Plaintiff for his

repeated misconduct is a determination that is entitled to a great degree of

deference. See Halpern, 669 F.3d at 463; Herzog v. Loyola College in

Maryland, Inc., No. RDB-07-02416, 2009 WL 3271246, at *8 (D. Md. Oct. 9,

2009) (“It is well within [a college’s] discretion to dismiss a student who has

problems with authority, difficulty understanding the impact of his conduct on

others and who has conceded to breaching ethical standards promulgated

by the school.”).

      Further, the Plaintiff has failed to present a forecast of evidence that

LMC’s reason for dismissing him was a pretext for discrimination. In order

to show pretext, the Plaintiff must demonstrate “weaknesses, implausibilities,

inconsistencies, incoherencies, or contradictions in the [Defendant’s]

proffered legitimate reasons for its action that a reasonable factfinder could


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rationally find them unworthy of credence.” Mallon, 2021 WL 4215331, at

*10 (citations omitted).

      As evidence of pretext, the Plaintiff cites to an “admission” from

Gaisser that he “exclu[ded] favorable items from Andrew’s student file in

advance of the February 2019 disciplinary hearing.” [See Doc. 80 at 20].

This argument, however, mischaracterizes Gaisser’s testimony and the

nature of the items that were excluded from the Plaintiff’s file, namely, emails

from the Plaintiff’s professors. The emails, read by Gaisser during his

deposition, sought “feedback from any professors about Andrew Munday's

behavior in class,” and described “behavior problems,” making up excuses

to leave class, constantly texting in class, and consistently distracting other

students. [Doc. 69-10: Gaisser Dep. 82-83, 84]. No reasonable jury could

find that Gaisser’s decision to exclude complaints about the Plaintiff’s in-

classroom behavior problems from the hearing supports a finding of pretext

in the panel’s decision to suspend the Plaintiff for misconduct.17

      In sum, the Court concludes that the Plaintiff has failed to present

evidence from which a reasonable jury could conclude that he was excluded

from LMC’s academic program on the basis of a disability. Accordingly, the


17Even if the emails had been positive in nature, however, they fail to support a finding
that the panel’s decision to suspend the Plaintiff for his misconduct was pretextual.
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Plaintiff’s exclusion claims under the ADA and the Rehabilitation Act must be

dismissed.

      B.     Failure to Accommodate

      To establish a prima facie case of a failure-to-accommodate claim

under the ADA and the Rehabilitation Act, the Plaintiff must show that (1) he

has a disability; (2) LMC knew of his disability; (3) he was qualified to

participate in LMC’s program, with reasonable accommodations; and (4)

LMC refused to make any reasonable accommodation. See Reyazuddin v.

Montgomery Cty., Md., 789 F.3d 407, 413-14 (4th Cir. 2015) (discussing ADA

and the Rehabilitation Act in the employment context).

      For the reasons stated above with respect to the Plaintiff’s exclusion

claim, the Court concludes that the Plaintiff has failed to present a forecast

of evidence from which a reasonable jury could conclude that he was

disabled or that he was qualified to participate as an undergraduate student,

with or without a reasonable accommodation. On this basis alone, the

Plaintiff’s failure-to-accommodate claim fails.

      Even if the Plaintiff had presented a sufficient forecast as to whether

he has a disability and whether he was qualified, the Court finds that he has

failed to present a forecast of evidence regarding the other elements of his

prima facie case. The ADA regulations provide that, in determining an
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appropriate reasonable accommodation, “it may be necessary for the

covered entity to initiate an informal, interactive process” with the disabled

individual in order to “identify the precise limitations resulting from the

disability and potential reasonable accommodations that could overcome

those limitations.” 29 C.F.R. § 1630.2(o)(3). In the employment context, the

Fourth Circuit has held that the duty to engage in this interactive process “is

generally triggered when an employee communicates to his employer his

disability and his desire for an accommodation for that disability.” Wilson v.

Dollar Gen. Corp., 717 F.3d 337, 346-47 (4th Cir. 2013).

      Here, the Plaintiff at most has presented a forecast of evidence that

the faculty and administration at LMC were “aware” that the Plaintiff had

asserted that he had ADHD requiring some academic accommodations,

such as extra time to complete assignments. The Plaintiff has failed to

adduce any evidence that LMC was on notice that the Plaintiff required

behavioral accommodations due to such ADHD in order to refrain from

engaging in abusive, inappropriate behavior that violated the Code of

Conduct. The Plaintiff has the burden of demonstrating that LMC “was on

notice of his disability and the limitations it imposes.” Joseph M. v. Becker

College, 531 F. Supp.3d 383, 398 (D. Mass. 2021). While the record is

replete of examples of the Plaintiff’s disruptive conduct, there is no indication
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that the Plaintiff was willing to take any steps to improve his behavior, in or

out of the classroom, any suggestions of what such steps would be, or that

the Plaintiff requested those steps from LMC.

      The Plaintiff contends that his outbursts and other acts of misconduct

“were prototypical manifestations of ADHD.” [Doc. 80 at 11]. On this point,

the case of Joseph M. is instructive. In that case, the plaintiff, who had been

diagnosed with Asberger’s Syndrome (which is now more commonly referred

as “Autism Spectrum Disorder”), was expelled from Becker College

(“Becker”) due to incidents of verbal abuse, violent and endangering

behavior, and other misconduct. Id. at 385, 388. The plaintiff alleged that

Becker violated the Rehabilitation Act by failing to provide him with

reasonable accommodations regarding his deficient social skills and other

difficulties with communication. Id. at 398. The district court granted Becker

summary judgment on the plaintiff’s claim, noting that the plaintiff had “never

made any express requests . . . for accommodations which were not related

to his academic performance.” Id. As the district court explained:

            This is not a situation where the plaintiff's need for
            accommodations was obvious. While Becker was
            aware of Joseph's Asperger's diagnosis, that in and
            of itself is not sufficient to put Becker on notice that
            Joseph had difficulties socially interacting and
            communicating with others. Moreover, even after it
            became clear that Joseph was having difficulty with
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              his assignments, neither he nor his parents raised
              any issues regarding his ability to interact socially
              with other students or generally within the Becker
              community. Moreover, Becker made Joseph and his
              parents aware of support systems offered on campus
              . . . Joseph did not avail himself of these
              opportunities. Under the circumstances, it was
              incumbent upon Joseph to ask for any
              accommodations outside of the academic context.
              Because        Joseph   never     requested      any
              accommodations regarding his inability to socialize,
              his claim fails.

Id. at 398.

      Like the situation in Joseph M., the Plaintiff’s need for accommodations

related to his social interactions and communication with others was not

obvious. While LMC was aware that the Plaintiff asserted that he had ADHD,

that alone was not sufficient to apprise the college of the Plaintiff’s apparent

need for accommodations relating to his social interactions. Despite being

told repeatedly of the services available on campus, neither the Plaintiff nor

his father sought such services.       The only accommodations requested

specifically in connection with any claimed ADHD (and only then by the

Plaintiff’s father) related to his academic work. Like the plaintiff in Joseph

M., the Plaintiff never requested any accommodations regarding any of his

alleged social difficulties.



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      The Plaintiff claims that LMC failed to accommodate his disability with

respect to the February 6, 2019 disciplinary hearing by failing to

accommodate the Plaintiff’s request for “an explanation of what was going

on,” his request for additional time and assistance in preparing, and his

request to have Dr. Chrane attend the hearing as a witness.

      The Plaintiff’s claim that he requested additional time to prepare for the

hearing due to his disability is not supported by the evidence in the record.

Although the Plaintiff testified that he requested a delay in the hearing from

Gaisser, it is undisputed that he did not tell Gaisser that his request was in

connection with ADHD. Additionally, the record evidence demonstrates that

the Plaintiff did not request any witnesses attend the hearing as an

accommodation. The Plaintiff admitted that he did not recall whether he

asked Dr. Chrane to be present at the hearing, and Dr. Chrane likewise

testified that she had received no such request from Plaintiff or his father.

Even if Dr. Chrane had been present, there is no evidence that her testimony

would have kept the Plaintiff from being suspended. Dr. Chrane herself

testified at her deposition that she believed the Plaintiff’s conduct was

inappropriate and unacceptable, no matter what caused him to use the word,

and she thought he should be out of the classroom and off campus


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      As for the Plaintiff’s request for an explanation about the hearing, the

Plaintiff cannot show that he requested any changes to the hearing

procedures as an accommodation for ADHD. Even if he had, however, the

undisputed evidence shows that the notice of hearing that the Plaintiff

received by email and in physical form referred the Plaintiff to Gaisser and

the Student Handbook with any questions about hearing procedures. This

hearing was the Plaintiff’s third hearing (and his second hearing with a panel)

that the Plaintiff had gone through at LMC, and thus the Plaintiff already had

had many opportunities to familiarize himself with hearing procedures.

Further, the recording of the hearing indicates that the Plaintiff never

expressed that he did not understand the charges against him or the

process.

      In short, the Plaintiff refused to follow LMC’s procedures to declare a

disability and request accommodations for behavioral issues stemming from

his alleged ADHD. Further, the Plaintiff did not propose—and still has yet to

propose—any reasonable accommodation that would have allowed him to

become qualified to participate in LMC’s undergraduate program. For all

these reasons, the Court concludes that the Plaintiff has failed to present a

forecast of evidence from which a reasonable jury could conclude that LMC

failed to his accommodate an impairment that substantially limited one or
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more of his major life activities.         Accordingly, the Plaintiff’s failure-to-

accommodate claims are also dismissed.



                                      ORDER

     IT IS, THEREFORE, ORDERED that the Defendants’ Motion for

Summary Judgment [Doc. 69] is GRANTED.

     IT IS FURTHER ORDERED that this case is DISMISSED. A Judgment

consistent with this Memorandum of Decision and Order shall be entered

simultaneously herewith.

     IT IS SO ORDERED.


                           Signed: November 28, 2022




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